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 6   The News & Observer, The Charlotte
     Observer, The Herald, and The State
 7

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 9                              UNITED STATES BANKRUPTCY COURT

10                                      DISTRICT OF DELAWARE

11   In re:                                            Bankruptcy Case
                                                       No. 20-10256 (KBO)
12   EARTH FARE, INC.,
                                                       Chapter 11
13                           Debtor.

14                            REQUEST FOR SERVICE OF DOCUMENTS

15            PLEASE TAKE NOTICE that Paul J. Pascuzzi of Felderstein Fitzgerald Willoughby

16   Pascuzzi & Rios LLP represents The McClatchy Company, The News & Observer, a division of

17   The News and Observer Publishing Company, The Charlotte Observer, a division of Charlotte

18   Observer Publishing Company, The Herald, a division of East Coast Newspapers, Inc., and The

19   State, a division of The State Media Company, creditors and parties in interest in the above-

20   captioned matter (collectively, “McClatchy”). The undersigned, pursuant to Section 1109(b) of

21   Title 11 of the United States Code (the “Bankruptcy Code”) and Rule 9010(b) of the Federal

22   Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), requests copies of all notices and

23   pleadings pursuant to Bankruptcy Rule 2002(a). The undersigned requests that all such notices be

24   addressed as follows:

25                           Paul J. Pascuzzi
                             Felderstein Fitzgerald Willoughby
26                           Pascuzzi & Rios LLP
                             500 Capitol Mall, Suite 2250
27                           Sacramento, CA 95814
                             ppascuzzi@ffwplaw.com
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 1          PLEASE TAKE FURTHER NOTICE that, pursuant to Sections 342 and 1109(b) of the

 2   Bankruptcy Code, the foregoing demand includes not only the notices and papers referred to in

 3   the rules specified above but also includes any notice, application, complaint, demand, motion,

 4   petition, pleading, or request, whether formal or informal, written or oral, and whether transmitted

 5   or conveyed by mail, electronic mail, hand or personal delivery, telephone, telegraph, telex, or

 6   otherwise filed or made with regard to this matter.

 7          PLEASE TAKE FURTHER NOTICE that neither this Request for Service of Documents

 8   nor any subsequent appearance, pleading, claim, or suit is intended or shall be deemed to be a

 9   waiver of McClatchy’s (i) rights to have final orders in non-core matters entered only after de

10   novo review by a higher court; (ii) right to trial by jury in any proceedings so triable herein or in

11   any case, controversy, or proceeding related thereto; (iii) right to have the reference withdrawn in

12   any matter subject to mandatory or discretionary withdrawal; or (iv) other rights, claims, actions,

13   defenses, setoffs, or recoupments to which these creditors are or may be entitled under

14   agreements, in law, or in equity, all of which rights, claims, actions, defenses, setoffs and

15   recoupments are expressly reserved.

16   Dated: March 6, 2020

17                                                         FELDERSTEIN FITZGERALD
                                                           WILLOUGHBY PASCUZZI & RIOS LLP
18
                                                           By:/s/ Paul J. Pascuzzi
19                                                         Paul J. Pascuzzi
20                                                         Attorneys for The McClatchy Company,
                                                           The News & Observer, The Charlotte
21                                                         Observer, The Herald, and The State
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 1                                    CERTIFICATE OF SERVICE

 2          I hereby certify that on March 6, 2020, I electronically filed the foregoing REQUEST

 3   FOR SERVICE OF DOCUMENTS with the Clerk of the Court by using the CM/ECF system,

 4   which will send a notice of electronic filing to all CM/ECF participants.

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                                                          /s/ Karen L. Widder
 6                                                        Karen L. Widder

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